Case 2:12-cv-09324-DDP-VBK Document 193 Filed 07/17/15 Page 1 of 2 Page ID #:3213



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14                           UNITED STATES DISTRICT COURT
15                          CENTRAL DISTRICT OF CALIFORNIA
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17   FINN PETTE, et al.,                    Case No.: CV 12-09324 DDP (VBKx)
18                 Plaintiffs,
                                            CLASS ACTION
19          vs.
20   INTERNATIONAL UNION OF                 ORDER REGARDING
     OPERATING ENGINEERS, a trade           STIPULATION BETWEEN
21   union, et al.,                         PLAINTIFFS AND DEFENDANTS
                                            JAMES T. CALLAHAN, BRIAN E.
22                 Defendants.              HICKEY, AND TERRANCE E.
                                            MCGOWAN TO DISMISS
23                                          DEFENDANTS JAMES T.
                                            CALLAHAN, BRIAN E. HICKEY,
24                                          AND TERRANCE E. MCGOWAN
                                            FROM THE ACTION
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     Case No: CV 12-09324 DDP (VBKX)    Page 1
       [PROPOSED] ORDER REGARDING STIPULATION TO DISMISS DEFENDANTS JAMES
      T. CALLAHAN, BRIAN E. HICKEY, AND TERRANCE E. MCGOWAN FROM THE ACTION
Case 2:12-cv-09324-DDP-VBK Document 193 Filed 07/17/15 Page 2 of 2 Page ID #:3214



 1   TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
 2         The Court has received and reviewed the Stipulation entered into by and
 3   between all Plaintiffs and Defendants JAMES T. CALLAHAN, BRIAN E.
 4   HICKEY, and TERRANCE E. MCGOWAN (“Stipulating Defendants”) to dismiss
 5   the Stipulating Defendants from this action. GOOD CAUSE APPEARING, it is
 6   hereby ORDERED that:
 7         1. All claims asserted by all Plaintiffs, in their individual capacities, against
 8             the Stipulating Defendants are dismissed with prejudice.
 9         2. All class claims alleged on behalf of the putative class are dismissed
10             against the Stipulating Defendants without prejudice.
11         3. The Parties to this Stipulation shall bear their own fees and costs as to the
12             claims brought by Plaintiffs against the Stipulating Defendants.
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14         PURSUANT TO STIPULATION, IT IS SO ORDERED.
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17   Date: July 17, 2015
                                                   Hon. Dean D. Pregerson
18                                            UNITED STATES DISTRICT JUDGE
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     Case No: CV 12-09324 DDP (VBKX)        Page 2
       [PROPOSED] ORDER REGARDING STIPULATION TO DISMISS DEFENDANTS JAMES
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